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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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JOHN WILEY & SONS, INC., : Case No. 1:18-cv-11943-ER
Plaintiff,
-against-
CHEGG, INC.,
Defendant.
a “x

 

JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
In accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties, by and
through their undersigned counsel, stipulate that this action is dismissed with prejudice with

each party bearing its own attorneys’ fees and costs.

 

 

Dated: July 26, 2019 Respectfully submitted,
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CERTIFICATE OF SERVICE

 

I hereby certify that on July 31, 2019, I electronically filed the foregoing Joint Stipulation
of Dismissal with Prejudice with the Clerk of the Court by using the CM/ECF system which will
send a notice of electronic filing to the following counsel of record.

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